Case 3:19-bk-30822      Doc 58    Filed 07/17/19 Entered 07/17/19 11:43:38           Desc Main
                                  Document     Page 1 of 2




                         UNITED STATES BANKRUPTCY COURT

                        SOUTHERN DISTRICT OF OHIO (DAYTON)

IN RE:                                      *              CASE NO. 19-30822

TAGNETICS INC.                              *              JUDGE HUMPHREY

         INVOLUNTARY DEBTOR                 *              CHAPTER 7

                    NOTICE OF SUBMISSION OF SUBPOENAS FOR
                      LOU FERNANDEZ AND DANIEL WHITE


       Now comes the Petitioning Creditors S-Tek Inc. and Kayser Ventures Ltd., by and
through their counsel Christopher L. Wenser, and hereby provide notice that subpoenas have
been sent to Lou Fernandez and Daniel White to appear at the hearing set for 07/29/2019 at 9:30
am.

Dated: 7/17/2019                             Respectfully submitted,
                                             /s/ Christopher L. Wesner
                                             Christopher L. Wesner (0082699)
                                             Miller, Luring Venters & Wesner Co., L.P.A.
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                                             Troy, OH 45373
                                             Phone: (937)-339-2627
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                                             Attorney for S-Tek and Kayser Ventures Ltd.




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Case 3:19-bk-30822          Doc 58       Filed 07/17/19 Entered 07/17/19 11:43:38                Desc Main
                                         Document     Page 2 of 2




                                         CERTIFICATE OF SERVICE

        I hereby certify that this document was served by email (when the email address of the

party was available to me) and regular U.S. mail this day of July 17, 2019 upon the following:

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                                                     /s/ Christopher L. Wesner




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